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                      IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

IN RE: SENSIPAR (CINACALCET                         C.A. No. 19-md-02895-LPS
HYDROCHLORIDE TABLETS) ANTITRUST
LITIGATION


THIS DOCUMENT RELATES TO:
                                                    C.A. No. 19-396-LPS
ALL DIRECT PURCHASER ACTIONS
                                                    C.A. No. 19-1460-LPS


            MOTION AND PROPOSED ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the

admission pro hac vice of Sarah E. DeLoach of Roberts Law Firm, P.A. located at 20 Rahling

Circle, Little Rock, AR 72223 to represent Plaintiff KPH Healthcare Services, Inc., a/k/a Kinney

Drugs, Inc. in the above-captioned matter.

Dated: January 14, 2020                            CHIMICLES SCHWARTZ KRINER
                                                   & DONALDSON-SMITH LLP

                                                   /s/ Tiffany J. Cramer
                                                   Robert J. Kriner, Jr. (Del. Bar No. 2546)
                                                   Scott M. Tucker (Del. Bar No. 4925)
                                                   Tiffany J. Cramer (Del. Bar No. 4998)
                                                   Vera G. Belger (Del. Bar No. 5676)
                                                   CHIMICLES SCHWARTZ KRINER
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                                                   Liaison Counsel for Plaintiffs César
                                                   Castillo, Inc., KPH Healthcare Services,
                                                   Inc., a/k/a Kinney Drugs, Inc. and the
                                                   Proposed Direct Purchaser Class


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                     [PROPOSED] ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is GRANTED.


Date: ________________, 2020.                   __________________________________
                                                United States District Judge




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